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                     6   THE GEO GROUP, INC. and R. DURAN
                     7
                     8                                 UNITED STATES DISTRICT COURT
                     9                                CENTRAL DISTRICT OF CALIFORNIA
                  10
                  11     OMAR ARNOLDO RIVERA                          Case No. 5:18-cv-01125-R-GJS
                         MARTINEZ; ISAAC ANTONIO
                  12     LOPEZ CASTILLO; JOSUE                        DEFENDANTS’ OPPOSITION TO
                         VLADIMIR CORTEZ DIAZ; JOSUE                  PLAINTIFFS’ NOTICE OF
                  13     MATEO LEMUS CAMPOS;                          RELATED CASE [Doc. #10]
                         MARVIN JOSUE GRANDE
                  14     RODRIGUEZ; ALEXANDER
                         ANTONIO BURGOS MEJIA; LUIS                   Judge:      Honorable Manuel L. Real
                  15     PEÑA GARCIA; JULIO CESAR
                         BARAHONA CORNEJO, as
                  16     individuals,
                  17                             Plaintiffs,
                  18     v.
                  19     THE GEO GROUP, Inc., a Florida
                         corporation; the CITY OF
                  20     ADELANTO, a municipal entity; GEO
                         Lieutenant Duran, sued in her
                  21     individual capacity; and DOES 1-6,
                         individuals,
                  22
                                                 Defendants.
                  23
                  24              On June 15, 2018, Plaintiffs filed a Notice of Related Case [Dkt. 10],
                  25     indicating this case should be related to Raul Novoa v. The Geo Group, Inc., Case
                  26     No. 5:17-cv-02514-JGB-SHK. However, the Novoa case does not meet the criteria
                  27     of a related case and Plaintiffs’ notice is a thinly veiled attempt to forum shop.
                  28     Accordingly, it should be denied.
B URKE , W ILLIAMS &
   S O REN SEN , LLP                                                                           5:18-CV-01125-R-GJS
                         LA #4830-5498-9675 v1                      -1-
  ATTORNEYS AT LAW                                                                       OPPO TO N-RELATED CASE
    LOS ANGELES
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                     1                                         ARGUMENT
                     2            Cases are deemed related under Local Rule 83-1.3.1 if they: (a) arise from
                     3   the same or a closely related transaction, happening, or event; (b) call for
                     4   determination of the same or substantially related or similar questions of law and
                     5   fact; or (c) for other reasons would entail substantial duplication of labor if heard by
                     6   different judges. The Novoa case does not meet the criteria of being related to the
                     7   instant case for the reasons set forth below.
                     8            First, the Novoa case is a putative class action concerning allegations of
                     9   detainees being paid $1 per day for labor instead of minimum wage. It cites
                  10     allegations of inadequate medical care at Adelanto only to support its claim that
                  11     “[b]y maintaining these harsh conditions and purposely withholding basic
                  12     necessities from detainees, GEO ensures an available labor pool of detainees will
                  13     work for only $1 per day, . . . .” (Novoa Compl. [Dkt. 1] ¶ 37.) There are no
                  14     causes of action in Novoa related to medical care and/or failure to provide medical
                  15     care. (See generally, Novoa Compl. [Dkt. 1].) The named Plaintiff Raul Novoa
                  16     resided at the Adelanto Facility from 2012 through 2015.
                  17              In contrast, Plaintiffs’ case concerns a protest on June 12, 2017, allegations
                  18     of excessive force used by GEO staff to break up the protest, and an alleged failure
                  19     to treat injuries incurred by the eight plaintiffs during that single incident. (See,
                  20     e.g., Martinez Compl. [Dkt. 1] ¶ 12.) There are no allegations about the plaintiffs-
                  21     detainees working for sub-standard wages. The cases do not arise from the same or
                  22     closely related transaction, happening or event.
                  23              Second, the cases do not call for determination of the same or substantially
                  24     related or similar questions of law and fact. In fact, none of the legal claims are the
                  25     same or similar. Novoa raises claims under the Labor code related to minimum
                  26     wage, unjust enrichment, Unfair Competition Law (UCL), the California
                  27     Trafficking Victims Protection Act, and Attempted Forced Labor. In contrast,
                  28     Martinez raises claims for battery, assault, negligent hiring/training/supervision,
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   S O REN SEN , LLP                                                                            5:18-CV-01125-R-GJS
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  ATTORNEYS AT LAW                                                                        OPPO TO N-RELATED CASE
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                     1   IIED, retaliation, excessive force, due process, Bane Act, conspiracy, and failure to
                     2   provide medical care. Further, none of the factual claims appear even similar,
                     3   given that Novoa relates to alleged substandard wages for classes of detainees and
                     4   Martinez relates to a single force incident in June 2017 involving eight detainees.
                     5            Third, having these cases heard by different judges would not entail
                     6   substantial duplication of labor. They are very different cases. The only real
                     7   overlap is that both cases involve the Adelanto Detention Facility, operated by The
                     8   Geo Group, Inc. The fact that a case involves the same facility or prison is
                     9   insufficient to deem it “related” for purposes of having it heard by the same judge.
                  10     If this were the case, some judges would handle only jail, prison and detention
                  11     facility matters, by virtue of having first been assigned a case involving that facility.
                  12              Plaintiffs evidently seek a transfer to Judge Bernal. However, they fail to
                  13     meet the Local Rule criteria to demonstrate that Novoa is related. Accordingly,
                  14     their notice should be disregarded and the present matter retained in this Court.
                  15
                  16     Dated: June 19, 2018                     BURKE, WILLIAMS & SORENSEN, LLP
                  17
                  18                                              By: /s/ Susan E. Coleman
                                                                      Susan E. Coleman
                  19                                                  Kristina Doan Strottman
                  20                                              Attorneys for Defendants
                                                                  THE GEO GROUP, INC. and DURAN
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   S O REN SEN , LLP                                                                            5:18-CV-01125-R-GJS
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